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U.S. Department of Justice

United States Attorney
District of New Jersey

 

 

970 Broad Street, Suite 700 (973) 645-2700
Newark, NJ 07102

August 1, 2017

VIA ECF

Honorable Susan D. Wigenton

United States District Judge

Martin Luther King, Jr. Federal Building
& U.S. Courthouse

50 Walnut Street

Newark, New Jersey 07102

Re: United States v. Mark Andreotti
Criminal No. 15-569 (SDW)

Dear Judge Wigenton:

As the Court is aware, trial in the above-captioned matter is scheduled to commence on
September 11, 2017.

Out of an abundance of caution in light of defendant Mark Andreotti’s statements in
Court on July 24, 2017, the United States re-extended the plea offer that was made to Defendant
through prior counsel for the defendant by letter dated October 27, 2016.! This plea offer, dated
July 25, 2017, was transmitted to defense counsel, John P. McGovern, Esq. by electronic mail
with the deadline of July 31, 2017 of 5:00 p.m. Attached hereto as Exhibit A are copies of the
correspondence transmitting the plea offer. To date, the Government has not received any
communication from Mr. McGovern regarding the plea offer. Accordingly, the United states
respectfully submits this letter to request that on August 8, 2017, at 11:00 a.m., the Court
conduct an inquiry pursuant to Missouri v. Frye, 132 S. Ct. 1399 (2012), designed to prevent the
defendant from claiming that counsel failed to convey and advise him about the most recent
formal plea offer made by the Government, and to make a sufficient record that counsel fulfilled
those obligations. Specifically, the Government suggests that, after the Government sets forth on
the record that a formal plea offer was sent to defense counsel by letter dated July 25, 2017, the
Court ask defense counsel the following questions:

1. Did you receive a proposed plea agreement dated July 25, 2017?

2. Did you provide a copy of that proposed plea agreement to your client?
3. Did you review the proposed plea agreement with your client prior to the expiration date
of the plea offer?

 

' To ensure compliance with the prohibition against judicial involvement in plea negotiations, Fed. R. Crim, P.
11(c), the Government will not describe the terms of any plea offers.
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4, Did you have a sufficient opportunity to discuss the proposed plea agreement with your
client?

5. Did your client reject the proposed plea agreement?

If defense counsel answers “yes” to all of those questions, the Government suggests that
the Court address the defendant as follows: I am going to ask you some questions. Do not
disclose any communications with your attorney. Do not tell me the terms of any plea offer made
by the Government. The Court is not involved in any plea negotiations, and it has no opinion
regarding your decision whether to plead guilty or proceed to trial. When I ask you these
questions, please give me a yes or no answer to each question — nothing more.

1, Did you receive the proposed plea agreement dated July 25, 2017?

2. Did you have a sufficient opportunity to consult with your attorney about that proposed
plea agreement?

3, Do you understand that it is exclusively your decision whether to accept or reject the
proposed plea agreement, but that you should make that decision in consultation with
your attorney?

4, Did you, in fact, reject the proposed plea agreement?

The Government believes that this proposed procedure will effectively ferret out and

ameliorate any Frye problems without compromising or intruding upon the attorney-client
relationship.

Respectfully submitted,

WILLIAM E. FITZPATRICK
Acting United States Attorney

/s/ Shana W. Chen

By: Shana W. Chen
Assistant U.S. Attorney

/s/ Charlie L. Divine

By: Charlie L. Divine
Special Assistant U.S. Attorney

cc: John P. McGovern, Esq. (via email, sean@mcgovernlaw.com)
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EXHIBIT A
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Chen, Shana (USANJ) 1

From: Chen, Shana (USANJ) 1

Sent: Tuesday, July 25, 2017 10:33 AM

To: jpmsean@aol.com; ‘Sean McGovern’

Cc: charlie.divine@fhfacig.gov

Subject: US v. Mark Andreotti, Crim. No. 15-569 (SDW)
Attachments: Plea3 Cvr Ltr.pdf; PleaAgmt_3.pdf

As discussed yesterday in court, please see the attached plea offer. It is open until next Monday.
Shana and Charlie

Shana W. Chen
Assistant U.S. Attorney
District of New Jersey
w-973.353.6095
shana.chen@usdoj.gov
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U.S. Department of Justice

 

 

United States Attorney

District of New Jersey
Shana W. Chen 970 Broad Street, Suite 700 (973) 645-2700
Assistant United States Attorney Newark, NJ 07102 (973) 353-6095 Direct

July 25, 2017

VIA EMAIL

John P. McGovern, Esq.

Law Offices of John P. McGovern
45 Bleeker Street

Newark, NJ 07102

Re: Plea Agreement with Mark Andreotti

Dear Mr. McGovern:

Enclosed is a draft proposed plea agreement dated July 25, 2017, which
contains the same terms as the prior plea agreement dated October 21, 2016. If
your client wishes to accept this agreement, please have him sign the plea
agreement, witness the signature, and return the original signed plea
agreement to me. Please note that the plea agreement will expire if a signed
copy is not received by 5:00pm on Monday, July 31, 2017.

Please do not hesitate to call me at (973) 353-6095 if you have any
questions or wish to discuss this matter further.

Respectfully,

WILLIAM E. FITZPATRICK
Acting United States Attorney

/s/ Shana W. Chen

By: Shana W. Chen
Assistant U.S. Attorney

/s/ Charlie L. Divine

By: Charlie L. Divine
Special Assistant U.S. Attorney

Encl.
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Chen, Shana (USANJ) 1

From: Chen, Shana (USANJ) 1

Sent: Monday, July 31, 2017 10:57 AM

To: jpmsean@aol.com; ‘Sean McGovern’

Ce: charlie.divine@fhfaoig.gov

Subject: RE: US v. Mark Andreotti, Crim. No. 15-569 (SDW)
Attachments: PleaAgmt3_signedzi.pdf

Dear Sean,

Attached is the plea agreement again with the signature page signed by my supervisor, Zach Intrater. Today is the
deadline for Mark Andreotti to accept this offer, so please let us know by 5pm today if Mark Andreotti wishes to accept
or decline this offer.

Thank you.

Shana and Charlie

Shana W. Chen
Assistant U.S. Attorney
District of New Jersey
w-973.353.6095
shana.chen@usdoj.gov

From: Chen, Shana (USANJ) 1

Sent: Tuesday, July 25, 2017 10:33 AM

To: jpmsean@aol.com; 'Sean McGovern’ <sean@mcgovernlawfirm.com>
Cc: charlie.divine@fhfaoig.gov

Subject: US v. Mark Andreotti, Crim. No. 15-569 (SDW)

As discussed yesterday in court, please see the attached plea offer. It is open until next Monday.
Shana and Charlie

Shana W. Chen
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shana.chen@usdoj.gov
